                             EXHIBIT A

                 SERVICES AGREEMENT




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        REAL ESTATE CONSULTING AND ADVISORY SERVICES AGREEMENT

       This Agreement (the “Agreement”) is entered into as of November 5, 2024, by and
between Hilco Real Estate, LLC (“Hilco”) and Refreshing USA, LLC, Water Station
Management LLC, and Creative Technologies LLC (collectively “Debtor”), debtor and debtor-
in-possession in that certain Chapter 11 case, Case Nos. 24-33919, 24-33924, and 24-33934 (the
“Bankruptcy Cases”), pending in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”).

                                             Recitals:

       WHEREAS, the Debtor desires to retain Hilco as its exclusive agent to market for sale on
its behalf that certain real estate property identified on Exhibit A attached hereto (each, a
“Property, and collectively, the “Properties”), which list of Properties may be added onto by
mutual agreement of the parties, in accordance with the terms set forth herein; and

        WHEREAS, Hilco is willing to perform the services described herein on the terms set
forth herein.
                                      Agreement:

       NOW, THEREFORE, in consideration of the foregoing recitals and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
Debtor and Hilco agree as follows:

       1.     Hilco Services. Hilco shall provide the following services to the Debtor during
the Term (as hereinafter defined):

               (a)    Meeting with the Debtor to ascertain the Debtor’s goals, objectives, and
financial parameters in selling the Properties. The sales structure, including reserve pricing, is
more specifically described on Exhibit B.

               (b)     Soliciting interested parties for the sale of the Properties and marketing the
Properties for sale through an accelerated sales process. The bid deadline/auction is anticipated
to be on or about TBD, 2024 or within eight (8) weeks after entry of the Retention Order (as
defined below).

                 (c)   At the Debtor’s direction and on the Debtor’s behalf, negotiating the terms
of the sale of the Properties.

       2.      Term. The term (the “Term”) of this Agreement shall commence upon the
execution hereof and shall expire six (6) months after the entry of the Retention Order, unless
terminated earlier (for cause, as set forth in Section 10 hereof) or extended pursuant to the terms
hereof. The Term may be extended for successive thirty (30) day periods upon written
agreement by Hilco and the Debtor. The parties acknowledge and agree that the effectiveness of
this Agreement is contingent upon approval of the Bankruptcy Court.

       3.      Authority. During the Term, Hilco shall serve as the Debtor’s exclusive agent for
the purposes set forth in Section 1 above. All communications and inquiries made to the Debtor


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regarding a sale of the Properties during the Term shall be redirected by the Debtor to Hilco.
The parties hereto agree that Hilco is serving as an independent contractor for the Debtor
pursuant to this Agreement for the limited purposes set forth herein and nothing herein shall be
construed to establish a partnership or joint venture between Hilco and the Debtor.

       4.      Compensation.

             (a)    In the event any Property is sold (or the reserve price is met as set forth on
Exhibit B), Hilco shall earn a fee equal to an amount as specified on Exhibit B of this
Agreement.

               (b)    All fees payable to Hilco hereunder shall be free and clear of any liens,
claims and encumbrances, including the liens of any secured parties. Any fees owing to Hilco
pursuant to Section 4(a) shall be payable at the time of closing on a sale of a Property.

               (c)     Hilco shall not be responsible for any other fees or commissions in
connection with the disposition of the Properties, including, without limitation, any
compensation, or fees due to an outside, third-party broker in the event such third party broker
procures the buyer of any Property.

        5.     Survival. If, within ten (10) days after the termination or expiration of the Term
of this Agreement, Hilco delivers to the Debtor a written list of prospects for the Properties (the
"Prospect List"), and within one hundred and twenty (120) days after the termination or
expiration of the term of this Agreement, the Debtor consummates a sale of any Property to a
prospect set forth on the Prospect List, Hilco shall be entitled to a fee, paid by the Debtor, in
accordance with Section 4 hereof as if the sale had been agreed to or consummated during the
Term of this Agreement, except and unless such termination is for cause as provided in Section
10, below. For purposes of this Agreement, to be properly included on the Prospect List, an
entity must have submitted a written letter of intent, contract, or purchase offer to Hilco in
connection with a Property or must have been shown the applicable Property by Hilco, prior to
the termination or expiration of the Term of this Agreement.

        6.      Expenses. The Debtor shall reimburse Hilco for all reasonable and customary
Reimbursable Expenses (as defined below) incurred in connection with the performance of the
services proposed hereunder, for which Hilco and the Debtor shall agree on a proposed budget;
provided, further, that such reimbursement obligation shall be capped at $10,000 per property. In
addition to any other fees due hereunder, the Reimbursable Expenses shall be due and payable (i)
at the closing of the sale of the Property to a third party, including a sale to a lender successfully
credit bidding on such Property, (ii) in the event the Property does not sell, upon the expiration
of the Term, (iii) in the event the sale and/or auction is cancelled, on the date the sale and/or
auction was scheduled to occur, or (iv) upon the termination of this Agreement pursuant to
Section 10. “Reimbursable Expenses” means all out-of-pocket expenses incurred in connection
with performance of the contemplated services, including, without limitation: reasonable
expenses of marketing, advertising, economy travel and transportation.

        7.      No Guaranty. Hilco has not guaranteed, and is not hereby guaranteeing, any
specific result on the sale of the Properties.


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       8.      Indemnification.

               (a)     Hilco’s Indemnification.

                 Hilco shall indemnify and hold the Debtor harmless from and against all
liabilities, claims, demands, damages, costs and expenses (including reasonable attorneys' fees)
arising from or related to any of the following: (a) the grossly negligent acts or omissions of
Hilco; (b) the breach of any material provision of this Agreement by Hilco; (c) any liability or
other claim asserted by any employee, representative, consultant or other person or entity
claiming through Hilco against the Debtor arising out of or related to Hilco’s conduct of the
marketing or sale of the Properties, other than claims arising from the Debtor’s negligence or
unlawful behavior; and (d) any liability or claim for unpaid commission made by a co-broker
retained by Hilco.

               (b)     The Debtor’s Indemnification.

               The Debtor shall indemnify and hold Hilco and its members, officers, directors,
employees, and principals harmless from and against all liabilities, claims, demands, damages,
costs and expenses (including reasonable attorneys' fees) arising from or related to any of the
following: (a) the negligent acts or omissions of the Debtor; (b) the breach of any material
provision of this Agreement by the Debtor; and (c) claims asserted by any of the Debtor’s
previous real estate brokers.

       9.      General Provisions.

               (a)     The Debtor and Hilco shall deal with each other in good faith so as to
allow both parties to perform their duties and earn the benefits of this Agreement.

               (b)    The effectiveness of this Agreement is subject to and contingent upon the
entry of an Order under section 327 and 328 of the Bankruptcy Code (the “Retention Order”), in
form and substance acceptable to Hilco, authorizing the Debtor’s entry into this Agreement,
which the Debtor agrees to use its commercially reasonable best efforts to obtain as soon as
practicable. The Debtor will use its commercially reasonable best efforts to ensure that the
Retention Order shall specifically provide that: (i) Hilco is being retained, nunc pro tunc to the
date hereof, pursuant to sections 327 and 328 of the Bankruptcy Code by the Debtor; (ii) the
payment of all fees and reimbursement of expenses hereunder to Hilco shall be free and clear of
all liens, claims and encumbrances; (iii) all such payments of fees and reimbursement of
expenses shall be made without further order of the Bankruptcy Court and paid at the closing of
a Property; and (iv) Hilco is not required to maintain time records or file interim or final fee
applications.

                (c)    Any correspondence or required notice shall be addressed as follows and
shall be deemed given (i) when received if hand delivered, (ii) three (3) business days after
depositing in the United States mail if sent first-class certified mail, and (iii) on the next business
day if sent by overnight mail:




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                    If to Hilco:             Hilco Real Estate, LLC
                                             5 Revere Drive
                                             Suite 320
                                             Northbrook, Illinois 60062
                                             Tel. (847) 418-2703
                                             Fax    (847) 897-0826
                                             Attn: Jeff Azuse
                                             jazuse@hilcoglobal.com

                    with a copy to:          Hilco Global
                                             5 Revere Drive, Suite 206
                                             Northbrook, Illinois 60062
                                             Tel. (847) 504-2462
                                             Fax    (847) 897-0874
                                             Attn: Eric Kaup
                                                    ekaup@hilcoglobal.com

                    If to Debtor:            Brian Weiss
                                             Force 10 Partners
                                             5271 California Avenue, Suite 270
                                             Irvine, California 92617
                                             Tel. (949) 357-2368
                                             bweiss@force10partners.com

                    with a copy to:          Danny Newman
                                             Ava Schoen
                                             Tonkon Torp LLP
                                             888 SW 5th Avenue, Suite 1600
                                             Portland, OR 97204
                                             Tel. (503) 802-2089 (Danny Newman)
                                                    (503) 802-2143 (Ava Schoen)
                                             danny.newman@tonkon.com
                                             ava.schoen@tonkon.com

               (d)    This Agreement shall be deemed drafted by both parties hereto, and there
shall be no presumption against either party in the interpretation of this Agreement.

               (e)     By executing or otherwise accepting this Agreement, the Debtor and Hilco
acknowledge and represent that they are represented by and have consulted with independent
legal counsel with respect to the terms and conditions contained herein.

                (f)    This Agreement may be executed in counterparts, and if executed and
delivered via facsimile shall be deemed the equivalent of an original.

               (g)     Other than may be expressly stated herein, this Agreement creates no
third-party beneficiaries.


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               (h)     The invalidity or unenforceability of any provision of this Agreement shall
not affect the validity or enforceability of any other provisions of this Agreement, which shall
remain in full force and effect, and the invalid or unenforceable provision shall be reformed to
the minimum extent required to render it valid and enforceable and to affect the intent of this
Agreement.

               (i)     Neither this Agreement nor any of the rights hereunder may be transferred
or assigned by either party hereto without the prior written consent of the other party. This
Agreement shall be binding upon and inure to the benefit of the parties hereto and their
respective successors and permitted assigns.

                (j)    No modification, amendment, or waiver of any of the provisions contained
in this Agreement, or any future representation, promise or condition in connection with the
subject matter of this Agreement, shall be binding upon any party to this Agreement unless made
in writing and signed by a duly authorized representative or agent of such party. The failure by
either party to enforce, or the delay by either party in enforcing, any of said party’s rights under
this Agreement shall not be construed as a waiver of such rights, and said party may, within such
time as is provided by the laws established by any government with applicable jurisdiction,
commence appropriate suits, actions, or proceedings to enforce any or all of such rights. A
waiver by either party of a default in one or more instances shall not be construed as a waiver in
other instances.

                (k)     This Agreement, together with all additional schedules and exhibits
attached hereto, constitutes a single, integrated written contract expressing the entire agreement
of the parties concerning the subject matter hereof. No covenants, agreements, representations,
or warranties of any kind whatsoever have been made by any party to this Agreement except as
specifically set forth in this Agreement. All prior agreements, discussions and negotiations are
entirely superseded by this Agreement.

                (l)     All headings and captions in this Agreement are for convenience only and
shall not be interpreted to enlarge or restrict the provisions of the Agreement.

                (m)     This Agreement has been made under the laws of the State of Delaware, and
such laws will control its interpretation and any and all issues, disputes, claims or causes of action
which relate or pertain to, or result or arise from this Agreement or Hilco’s services hereunder,
shall be settled by the Bankruptcy Court.

                (n)      The Debtor acknowledges and agrees that Hilco may present the Properties
for sale to a potential purchaser who is also exclusively represented by Hilco. In such event, Hilco
will disclose such arrangement to the Debtor, and Hilco shall be considered a co-broker and may be
paid a commission as the exclusive agent for the prospective purchaser in addition to any
commission owed for the listing of the Properties, except that in no event shall the Debtor be
obligated for any commission in excess of the amount provided for herein.

           (o) IF EARNEST MONEY OR SIMILAR DEPOSITS ARE FORFEITED TO
DEBTOR, IN ADDITION TO ANY OTHER RIGHTS OF HILCO HEREUNDER, THE
FORFEITED EARNEST MONEY SHALL FIRST BE USED BY DEBTOR TO REIMBURSE


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HILCO’S REIMBURSABLE EXPENSES. TO THE EXTENT ANY EARNEST MONEY
REMAINS AFTER DEBTOR REIMBURSES HILCO’S EXPENSES, SUCH REMAINING
AMOUNTS SHALL BE DIVIDED EQUALLY AMONG DEBTOR OR ITS CREDITORS AND
HILCO; PROVIDED, HOWEVER, HILCO’S PORTION OF THE REMAINING EARNEST
MONEY, AFTER REIMBURSEMENT OF HILCO’S EXPENSES, SHALL NOT EXCEED THE
TOTAL AMOUNT OF ANTICIPATED COMMISSION.

           (p)  THE DEBTOR AND HILCO AGREE THAT THE PROPERTIESWILL
BE OFFERED FOR SALE AND WILL BE SOLD WITHOUT REGARD TO RACE, COLOR,
RELIGIOUS CREED, ANCESTRY, AGE, NATIONAL ORIGIN, DISABILITY OR
FAMILIAL STATUS.

        10.    Termination for cause. The Debtor may terminate this Agreement for cause upon
written notice to Hilco at any time prior to the expiration of the Term. Termination for cause
shall mean any termination as a result of Hilco’s fraud, misrepresentation, gross negligence,
willful misconduct or material breach of any of the terms of this Agreement. Upon termination
of this Agreement pursuant to this Section 10, the Debtor shall be liable only for payment of
accrued and unpaid Reimbursable Expenses of Hilco as of the effective date of the termination
by the Debtor.

      IN WITNESS WHEREOF, the Debtor and Hilco have executed and delivered this
Agreement as of the date first above written.



 Debtor                                           HILCO REAL ESTATE, LLC


 By:                                              By:
    Brian Weiss                                         Eric Kaup,
 Title:   Chief Restructuring Officer             Title: EVP, CCO & Special Counsel, Managing
                                                         Member
 Date:     11/5/24                                Date:  11/6/24




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                                      EXHIBIT A

                                   Property Addresses:

204 NWW ROAD, SAN ANTONIO, TX

516 Veterans Memorial Blvd Harker Heights, TX

602 S. Meadow Ave, Odessa, TX

14026 Harrison Ave, Posen IL

14919, 14821 Smokey Point Blvd, Marysville, WA 98271

14805 35th Ave NE, Marysville, WA 98270

3740 152nd St NE, Marysville, WA 98271

1612 NW ST, Flagstaff AZ

770 W 39th Ave., Apache Junction, AZ 85120

1771 W. Superstition Blvd, Apache Junction, AZ 85120

585 S. Winchester Apache Junction, AZ 85199

2428 West Broadway, Apache Junction, AZ 85120




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                                            EXHIBIT B

                             PRICE & COMMISSION STRUCTURE


SALES STRATEGY & STRUCTURE: Managed Bid Sales Process

Unless otherwise specified herein or agreed to between Hilco and the Debtor in writing, the sale
will be conducted as a “reserve sale” subject to the approval of the Debtor, those of Debtor’s
secured lender(s) with properly perfected and recorded interests in the Properties, and the
bankruptcy court. If the sale is approved during the Managed Bid Sales Process or a Property
otherwise sells during the Term (or during any tail period), the Debtor shall be obligated to pay
the below commission to Hilco.


COMMISSION

In the event any Properties are sold, Hilco shall earn a fee equal to:

    •    Six percent (6%) for each property with Gross Sales Proceeds up to $2,000,000.

    •    Five percent (5%) for each property with of the Gross Sales Proceeds from $2,000,001 to
         $3,000,000.

    •    Four percent (4%) for each property with Gross Sales Proceeds over $3,000,001.

For purposes hereof, “Gross Sale Proceeds” shall mean the aggregate cash and non-cash
consideration received by the Debtor in consideration of a Property. The value of non-cash
consideration paid for a Property shall be determined by mutual agreement between Hilco and
the Debtor.



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